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     Attorneys for Plaintiff,
 7   ELIZABETH K. FERREIRA
 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA
10
     ELIZABETH K. FERREIRA,
11                                              Case No.: 2:17-cv-02361-JAD-NJK
                     Plaintiff,
12                                              NOTICE OF SETTLEMENT
13
           vs.                                  BETWEEN ELIZABETH K.
                                                FERREIRA AND ENERGY FIRST
14   AURORA BANK, FSB; ENERGY                   CREDIT UNION
     FIRST CREDIT UNION; NUVISION                                                          N
15
     FEDERAL CREDIT UNION;                                                                 O
16   EQUIFAX INFORMATION                                                                   T
     SERVICES, LLC,                                                                        I
17

18                     Defendant(s).

19
           NOTICE IS HERBY GIVEN that the dispute between ELIZABETH K.
20

21
     FERREIRA (“Plaintiff”) and Defendant ENERGY FIRST CREDIT UNION

22   (“EFCU”) has been resolved on an individual basis. The parties anticipate filing a
23
     Stipulation for Dismissal of the Action as to the named Plaintiff’s claims against
24
     EFCU, with Prejudice, within 60 days. Plaintiff requests that all pending dates and
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     filing requirements as to EFCU be vacated and that the Court set a deadline sixty
 1

 2   (60) from present for filing a Dismissal as to EFCU.
 3
           Dated: October 31, 2017
 4
                                                  /s/ David H. Krieger, Esq.
 5                                                David H. Krieger, Esq.
 6
                                                  Attorneys for Plaintiff
 7                                                ELIZABETH K. FERREIRA
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